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                                                                                    08/19/2021
                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 IN RE:
                                                    Case No. 20-41570
 RONALD WAYNE PETTIT                                Chapter 7

                                 Debtor

  ORDER REGARDING TRUSTEE’S MOTION TO APPROVE SALE OF PROPERTY

          ON THIS DAY came on for consideration, the Motion to Approve Sale of Property (the

“Motion”) filed by Mark A. Weisbart, in his capacity as the duly appointed and acting Chapter 7

Trustee (“Trustee”) for the bankruptcy estate of Ronald Wayne Pettit seeking authority to sell the

bankruptcy estate’s interest in the Property, as defined below. After review and consideration of

the Motion and the statements of counsel, the Court finds that the

Motion should be approved as set forth below:

          ORDERED that the Trustee shall be and is hereby authorized to sell the bankruptcy estate’s

interest in real property located at 2740 Cromwell, Lewisville Texas 75056 (the “Property”) to

Andrea Windich pursuant to the Sale and Assignment Agreement attached to the Motion; it is

further

          ORDERED that the sale shall be subject to all liens, claims and encumbrances; it is further

          ORDERED that the sale of the Property shall be “as is, where is,” without any

representations or warranties concerning the condition, use or suitability of the Property; it is

further

          ORDERED that the Trustee shall be and is hereby authorized to execute all documents

necessary to consummate the sale of the Property; it is further

          ORDERED that that the stay requirement of FED.R.BANKR.P. 6004(h) shall be and is
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hereby waived.

      IT IS SO ORDERED.




                                 Signed on 8/19/2021

                                                        YM
                          HONORABLE BRENDA T. RHOADES,
                          CHIEF UNITED STATES BANKRUPTCY JUDGE
